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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                 Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                   Defendant.




   NOTICE IN RESPONSE TO THE COURT’S MINUTE ORDER OF JULY 18, 2018

       Pursuant to the Court’s Minute Order of July 18, 2018, the United States of America, by

and through Special Counsel Robert S. Mueller, III, hereby notifies the Court that the government

does not oppose the defendant receiving the sealed, unredacted version of the Court’s

Memorandum Opinion and Order of July 18, 2018 (Doc. 356).



                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER, III
                                                    Special Counsel

Dated: July 19, 2018                 By:            /s/ Andrew Weissmann
                                                    Andrew Weissmann
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